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                 EXHIBIT L
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 Report on Temporary Driver License Holders and Self-Reported Non-Citizens Who May
                   Appear in Kansas Voter Registration Databases



                         Fish v. Kobach, No. No. 2:16-cv-02105
                      United States Court for the District of Kansas




___________________

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March 15, 2017




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I.       Statement of Inquiry

      1. I have been asked to assess findings presented in declarations by Bryan Caskey and

         Jesse Richman about non-citizens and temporary driver’s license (TDL) holders

         appearing on the voter registration databases. I have also been asked to perform an

         original assessment of possibly ineligible individuals appearing in voter registration

         databases, including an examination of the voting history and method of registration

         for certain individuals purported to be non-citizens. The tasks require familiarity with

         state databases and expertise in linkage techniques in order to identify records from

         different databases that represent the same individual.

II.      Background and Qualifications

      2. I am an assistant professor of political science and a resident fellow of the Institution

         for Social and Policy Studies at Yale University in New Haven, Connecticut. I joined

         the faculty at Yale in 2011. I received my PhD in government from Harvard

         University in 2011.

      3. My scholarly research focuses on the topic of U.S. elections, specifically on voter

         behavior, election administration, and political campaigns. My methodological focus

         is in using individual-level data such as digitized voter registration records to study

         politics. Peer-reviewed articles such as “The Primacy of Race in the Geography of

         Income-Based Voting” (American Journal of Political Science, 2016), “Democratic

         and Republican Physicians Provide Different Care on Politicized Health Issues”

         (Proceedings of the National Academy of Sciences, 2016), “The Dynamic Election:

         Patterns of Early Voting Across Time, State, Party, and Age,” (Election Law Journal,




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          2016), “Movers, Stayers, and Registration: Why Age is Correlated with Registration

          in the US” (Quarterly Journal of Political Science, 2012), and others all utilize voter

          registration records to study politics. In addition, I have written about the quality of

          records in state voter systems (“Voter Registration: The Process and Quality of

          Lists,” in The Measure of American Elections, 2014) and the use of voter registration

          databases in campaign politics (Hacking the Electorate, 2015).

       4. I have been deposed as an expert witness is Judicial Watch, et al. v. King, et al., an

          NVRA case involving the state of Indiana. I have also served as an expert consultant

          in Texas v. Holder and Veasey v. Perry, two cases involving a voter identification law

          in the state of Texas.

       5. I am compensated for my work at a rate of $250 per hour.

       6. A copy of my current CV is attached as Exhibit A to this Report.

III.      Method of Linking Records

       7. Little information is provided in reports by Dr. Richman and Mr. Caskey about their

          methodology of linking records of purported non-citizens to voter registration

          databases. Other than the fields used, there is no information provided about how Mr.

          Caskey performed his matches. There is no information provided about how the

          Kansas Division of Vehicle office performed its matches, which are referenced in Dr.

          Richman’s report. Dr. Richman provides a limited set of information about how he

          linked the TDL records to the Suspense List of registered voters who have not

          provided proof of citizenship. Dr. Richman linked individuals based on those who

          match on three combinations of fields: Last Name + Date of Birth, First Name + Last




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   Name, and First Name + Date of Birth. Dr. Richman reports that he also visually

   inspected the records following these matches.

8. Several observations are worth noting about a matching procedure such as the one

   utilized by Dr. Richman. First, all three of the linkage combinations that Dr. Richman

   uses are highly vulnerable to generating false positive matches (i.e. two different

   individuals who have the same identifiers). The combinations last name + date of

   birth, first name + date of birth, and first name + last name are not unique identifiers

   for many people within the state of Kansas. For instance, the combination of first

   name + last name is only unique for 65% of currently registered voters in the state of

   Kansas (active and inactive). Just among currently registered voters, for example,

   there are 215 Michael Smiths, 205 Robert Smiths, and 179 James Smiths. I

   determined this by searching for duplicates on the statewide voter file that was shared

   with me as part of this case. Given that the presence of noncitizens on voting rolls is

   likely to be a very low-incidence phenomenon, a technique such as Dr. Richman’s

   could lead to a substantial number of false positive matches relative to the number of

   correct matches.

9. One way to deal with the problem of false positive matches is to improve the linkage

   methodology. As I describe below, I not only looked for matches between the two

   databases based on name and birthdate, but also on address. Including address limits

   the chance of two people sharing identifiers being considered matches. But it is

   important to note that even when linking records by name, address, and date of birth,

   the problem of false positive matches is essentially unavoidable. There may very well

   be two different people who share some or all of their identifiers who are actually




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   different people. For example, there are two sets of Robert Smiths in the list of

   registered voters who do not have unique birthdays. They live at different addresses.

   Given their common name, it is likely that they are different people. But it is also

   possible they represent single individuals registered twice.

10. A separate problem with any kind of record linkage question is administrative error.

   A person may be on the TDL file and voter file because they are non-citizens who

   purposefully tried to register to vote. Or, a person may be on both lists because they

   accidentally did so. Or, a person may also be on both lists because a government

   official accidentally placed them on one of the lists. Government record-keeping is

   not perfect. If one is hunting for low-incidence idiosyncrasies in public databases that

   may affect 5, 10, even 100 records, they are not hard to find.

       A. Consider some examples. Among currently registered voters in Kansas, 104

           are listed with birthdays of January 1, 1801. Did 100 people register with this

           birthday or did a government official, for some reason, key in 010101, which

           may be stored as Jan 1, 1801? There are also currently registered voters in

           Kansas with birth years of 1892, 1896, and 1898. Unbeknownst to record-

           keepers, are the three oldest people in the world actually registered voters in

           Kansas? Or are these records obsolete?

       B. Similarly, close to 400 Kansans currently registered to vote have dates of

           registration listed prior to the year they were born. Did parents pre-register

           their children, in some cases decades before their births? Or are these

           administrative errors?




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       C. The point of these examples is to illustrate that there are low-incidence errors

          in government records. Below, I will report that 14 out of 21,000 TDL holders

          may be on a list of active registered voters. This low rate is consistent with the

          rate of idiosyncrasies, often attributable to errors that can occur with public

          records.

11. To assess Dr. Richman’s work and Mr. Caskey’s work, and to provide an independent

   assessment of the number of individuals who appear both on the TDL list and the

   Suspense list, allow me to summarize my basic linkage methodology in this case.

       A. First, in linking two databases, I pre-process the fields on both databases to

          ensure that they are stored in the same way. For date of birth, I converted the

          field into a MMDDYYYY string.

       B. For first and last name fields, I removed spaces, periods, apostrophes, and

          dashes, and converted all letters to uppercase. This ensures that, for example,

          even if a person is listed as Jane McDonald-Smith on one file and Jane

          MCDONALD SMITH on another file, they would still produce a match.

       C. I use two components of address fields: street number and five-digit zipcode.

          For example, if an address is “77 Prospect Street, New Haven, CT, 06520,”

          the string of text that I use in linkage is “7706250.” The reason for utilizing

          only these numeric components of an address is that they are less likely to

          contain typos and inconsistencies across databases as compared to street

          names and other letter-based fields. If either of these numeric fields are blank,

          I utilize the street number and zipcode that appear in the mailing address

          fields.




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      D. After preprocessing the name, birthdate, and address fields to ensure they are

         stored in the same way between two databases, I create three identifiers that

         combine these fields. The first is a combination of Address, Date of Birth, and

         Name (first and last). I refer to this as ADN. The second is Date of Birth and

         Name (DN). The third is Address and Date of Birth (AD). Unlike Dr.

         Richman’s combinations, these combinations are extremely likely to be

         unique to individuals in Kansas. Of all inactive and active registered voters,

         AD is unique to 99.6% of records, DN is unique to 99.9% of records, and

         ADN is unique to 99.99% of records. Furthermore, the AD combination will

         match individuals who may have inconsistent names listed on two databases

         but since they have the same birthdate and address are likely to be the same

         individual.

      E. To match the TDL list to voter registration records, I perform one-to-many

         matches on each combination. For each identifier in the TDL list, I link to one

         or more matches on the voter file. This matching technique accommodates the

         fact that there are duplicative records on the voter file. Additionally, for a

         small number of records on the TDL list, there are non-unique identifiers. For

         example, suppose there are multiple records on TDL for the same person.

         However, the records differ in that there is a typo in the first name of one of

         the records. These two records will be unique on ADN and DN, but

         duplicative on AD. All versions of these records are attempted to be linked to

         the voter registration database.




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             F. After performing the matches, I visually inspect records that matched on only

                 one identifier. For example, suppose a TDL record links to a voter registration

                 record on name and birthdate but not address. This is may be a match (where

                 the person has moved residences), but this could also be a false positive match

                 (wherein two different people living in Kansas share a name and birthday).

                 Similarly, a person may match on address and date of birth but not name. For

                 example, two roommates or spouses who happen to share a birthday and live

                 together could be a false positive match here. Or, this could be a true match

                 but because of a typo or naming convention, the records did not match

                 successfully on first and last name. In practice, visual inspection can best aid

                 in deciphering a true match from a false positive match when a record

                 matches on date of birth and address but not name. Visual inspection can help

                 identify a case where a typo in a first name or a partial last name stored as a

                 middle name caused someone not to match on name when they actually are a

                 match. Visual inspection is not viable in all linkage settings. However, in the

                 present study, because there are so few cases that are even potential matches,

                 any record that matches can be scrutinized on a case-by-case basis.



IV.      Dr. Richman’s Report

      12. Professor Jesse Richman performed three sets of analysis that I have been asked to

         review. In the first analysis I am able to review, Dr. Richman linked the TDL

         database to the Suspense List. In the second analysis, Dr. Richman identified seven

         other individuals who reported in a survey that they were non-citizens and who




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    appeared on the Suspense List. In the third analysis, Dr. Richman identified

    respondents from a survey of TDL holders who reported they were registered voters.

        A. Dr. Richman’s TDL / Suspense List Match

 13. I first used my methodology to replicate Dr. Richman’s analysis of the link between

    TDL and the Suspense List. The automated components of Dr. Richman’s procedure

    are much more likely than my procedure to produce false positive matches. However,

    it is unclear how Dr. Richman used visual inspection to aid his search.

 14. As with Dr. Richman, I identified sixteen TDL records on the Suspense List. One of

    the matches that I identified was not identified by Dr. Richman. Additionally, one

    record that Dr. Richman counted as a match did not produce a match in my algorithm.

        A. The match that I found, but which Dr. Richman failed to find, is someone

            whose last name is listed as a single last name on one file but a double last

            name on another file. This person did not match on Dr. Richman’s first name

            + date of birth combination because the individual also has either a typo or an

            alternate name spelling for her first name on one of the files. I counted this

            person as a match, while Dr. Richman apparently did not.

        B. The record that Dr. Richman classified as a match but I did not belongs to an

            individual who is also listed as a single name on one file but a double name on

            the other file. But the two records are at different addresses. The combination

            of different last names and different addresses suggests to me that this might

            be a false positive match.

 15. Of the 17 TDL records that appear on the Suspense List, according to either my own

    assessment or Dr. Richman’s assessment, or both, none of them has any history of




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    voting recorded in the voter registration record. That is, none of these individuals are

    recorded as ever casting a vote in Kansas

 16. Of the 17 TDL records, 10 of them are listed in the voter file with an “MV” in the

    field of how they registered to vote. I understand this to mean that they were

    registered at a motor vehicle office. A list of relevant codes is attached to this Report

    as Exhibit B.

 17. Of the 17 individuals, 4 are listed with a code of “CITZ”, defined as “proof of

    citizenship not submitted.” One of these four is listed as having registered at the

    DMV.

 18. None of the 17 potential matches here are listed with a code of “FO”, defined as

    representing a federal form applicant.

 19. While Dr. Richman and I both found 16 individuals on the TDL list that also

    appeared on the Suspense List, please note two points of caution. First, the timing of

    the two lists is not apparent to me. I am an unable to assess if some of the individuals

    on TDL list became US citizens before appearing on the Suspense List. Second, it is

    possible that one or more of these 16 individuals is a false positive match – a person

    who appears on the TDL list and has the same name and birthdate of another person

    on the voter registration record.




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      20. Below is a table summarizing my findings with respect to Dr. Richman’s TDL /

             Suspense List Match:

               Dr. Richman’s TDL / Suspense List Match: Summary of Findings

Number of Matches Found by Dr. Richman                                                   16

Number of Matches Found By Dr. Hersh                                                     16

Combined Number of Matches                                                               17

Number with “CITZ” (Proof of Citizenship) Code                                            4

Number who Voted                                                                          0

Number with “MV” (Motor Voter) Code                                                      10

Number with “MV” (Motor Voter) and                                                        1
“CITZ” (Proof of Citizenship) Codes

Number with “FO” (Federal Form) Code                                                      0



        B.       Dr. Richman’s Survey of Suspense Records Self-Reporting as Non-Citizens


      21. Separate from matching TDL records to Suspense records, Dr. Richman identified 7

             individuals on the Suspense List who reported on a survey that they were non-

             citizens. I used name and birthdate information to identify these records in the full

             database of voters.

      22. Of these 7 individuals, six have no record of election participation. The one

             remaining individual is listed as having voted in the 2016 general election but in no

             elections prior.

      23. Of these 7 individuals, 4 are listed with a code of CITZ, defined as “proof of

             citizenship not submitted.”




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      24. Of these 7 individuals, 3 are listed with the “MV” code, i.e., as having registered at

          the department of motor vehicles. None of these 3 individuals are listed with the

          “CITZ” code. None of these three individuals are listed as having voted in any

          election.

      25. None of these 7 individuals are listed with a code of “FO”, defined as representing a

          federal form applicant.

      26. Below is a table summarizing my findings with respect to Dr. Richman’s Survey of

          Suspense Records Self-Reporting an Non-Citizens:


       Dr. Richman’s Survey of Suspense Records Self-Reporting an Non-Citizens:
                                Summary of Findings

Number Self-Reporting as Non-Citizens                                                   7

Number with “CITZ” (Proof of Citizenship) Code                                          4

Number who Voted                                                                        1

Number with “MV” (Motor Voter) Code                                                     3

Number with “MV” (Motor Voter) and                                                      0
“CITZ” (Proof of Citizenship) Codes

Number with “FO” (Federal Form) Code                                                    0



          C. Dr. Richman’s Survey of TDL Holder who are Self-Reported Non-Citizens


      27. I was given a list of six individuals who may have been TDL holders who apparently

          self-reported in a survey that they were registered to vote. Based on only their first

          and last name, I attempted to identify these individuals in the voter file. It does not

          appear than any of these individuals are listed on the voter file as someone who is a

          registered voter, was a registered voter, or who attempted to be a registered voter.


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V.      Mr. Caskey’s Declaration

        A. Mr. Caskey’s TDL / Voter Registration List Match

     28. Mr. Caskey’s declaration refers to 80 records that purportedly match in the TDL list

        and Kansas’s voter registration list.

     29. A description of Mr. Caskey’s matching methodology was given to me in the form of

        a forwarded email from the Kansas Secretary of State’s office, which is attached to

        this Report as Exhibit C. This email does not describe the record linkage procedure,

        but it does report on the fields used to link records. The fields include first name, last

        name, date of birth, and driver’s license number.

     30. As with Dr. Richman’s method, Mr. Caskey did not utilize address fields in matching.

        Mr. Caskey did use the drivers’ license number, which I do not use in matching. I do

        not use the drivers’ license number in part because the field is missing for

        approximately 1.2 million records out of 2.7 million listed on voter file. More

        importantly, I have found the field to be unreliable in that it produces false positive

        matches, as I describe below.

     31. Using my linkage method, I linked records from the TDL file (a file containing

        21,090 records) to the full voter registration file (containing 2,738,641 records).

     32. Whereas Mr. Caskey identified 80 matches, my algorithm suggests only 62 matches.

        Without having more detailed information about Mr. Caskey’s methodology, I do not

        know the exact cause of the discrepancy. However, Mr. Caskey failed to use address

        fields. Using only first name, last name, and date of birth, his algorithm might be

        considering false positive matches as actual matches. There are individuals who

        might match on first and last name, first name and date of birth, or last name and date




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    of birth, but who are not the same individual. As mentioned above, many individuals

    in the state of Kansas share these combinations of identifiers with others in the state.

 33. The Kansas Secretary of State’s office reports that Mr. Caskey’s linkage was also

    based on drivers’ license number. After performing my own algorithm, I separately

    matched the full TDL file to the voter file based on drivers’ license number. In 11

    cases, records matched on driver’s license number that did not match on my

    combinations of name, birthdate and address. When I investigated these records, most

    of them appear associated with entirely different people – different name, address,

    birthdate. These appear to be false positive matches attributable to administrative

    error in assigning drivers’ license numbers to multiple people or typos in the files.

    Because most of these individuals who matched only on driver’s license number

    appear clearly to be non-matches, I believe that the driver’s license number is not an

    appropriate method of linking records for this purpose.

 34. Even among my set of 62 potential matches based on name, birthdate, and address, it

    is important to point out that some might be false positive matches. Of the 62, only 24

    matched on first name, last name, date of birth, and address. Seventeen matched on

    first name, last name and date of birth, but not address. These might be movers and

    they might be false positives. Twenty-one individuals matched on address and date of

    birth but not name. These might be individuals who have different naming

    conventions on different databases, or they too might be false positive matches. In

    any case, not only would a less rigorous matching procedure than the one I used

    likely generate additional false positive matches, but some of the matches I found

    may also be false positives.




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 35. On March 14, 2017, I received a list of eighty registration identification numbers. I

    was informed that these correspond to the records of the 80 individuals holding a

    temporary driver’s license who were identified by Mr. Caskey’s office as appearing

    on the voter registration file. I linked the registration ID numbers to the voter file and

    found matching records for only 52 of the 80 cases. I am unable to determine why 28

    of Mr. Caskey’s records are not on the voter file that was supplied to me.

 36. Comparing the 52 cases to my own 62 cases analyzed above, 47 are on both sets, 15

    are only on my set, and 5 are only on Mr. Caskey’s set.

        A. I reviewed the five cases that are considered matches by Mr. Caskey but not

            by me. One case is someone who actually does appear on my own list of

            matches but with a different registration number. This person is listed with

            three different registration numbers on the voter file. I count his record as one

            match.

        B. A second case that appears on Mr. Caskey’s list of matches but not my own is

            a person who has the same first and last name as someone on the TDL list, but

            a different birthdate, address, and driver’s license number. Mr. Caskey counts

            this as a match, but given all the discrepancies, particularly in birthdate, this is

            much more likely to be a false positive match.

        C. Finally, there are three cases that Mr. Caskey considers a match that have

            different last names and addresses, but the same first name, date of birth, and

            license number as someone on the TDL file. Because of the inconsistent

            listings in last name and address, my algorithm does not treat these as

            matches.




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 37. Focusing on the 52 cases that appear on Mr. Caskey’s list and match to a voter file

    record, 11 are active voters, 3 are inactive voters, 23 are cancelled voters, and 15 are

    suspense voters.

 38. Of the 52 cases, 13 have a code of CITZ.

 39. Of the 52 cases, one is listed as having voted in the 2000 general election but no other

    election. The remaining 51 cases have no history of voting at all.

 40. Of the 52 cases, 24 are listed as having registered at the DMV.

        A. Among these 24, 8 are active registrants, one is an inactive registrant, five are

            listed as cancelled, and 10 are on the suspense list.

        B. Of the 24, two are listed as CITZ.

        C. Of the 24, one is listed as having voted in the 2000 general election. No others

            have any history of voting.

 41. Of the 52 cases, none are listed has having registered using the federal form.




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       42. Below is a table summarizing my findings with respect to Mr. Caskey’s match of the

          TDL and Voter Registration Lists:


        Mr. Caskey’s TDL / Voter Registration List Match: Summary of Findings

Number of Matches Reported By Mr. Caskey                                          80

Number of that Can Be Linked to the Voter File                                    52

Number with “A” (Active) Code                                                     11

Number with “I” (Inactive) Code                                                    3

Number with “S” (Suspense) Code                                                   15

Number with “R” (Canceled) Code                                                   23

Number with “CITZ” (Proof of Citizenship) Code                                    13

Number who Voted                                                                   1

Number with “MV” (Motor Voter) Code                                               24

Number with “MV” (Motor Voter) “A” (Active) Codes                                  8

Number with “MV” (Motor Voter) and “I” (Inactive) Codes                            1

Number with “MV” (Motor Voter) and “S” (Suspense) Codes                           10

Number with “MV” (Motor Voter) and “R” (Canceled) Codes                            5

Number with “MV” (Motor Voter) and                                                 2
“CITZ” (Proof of Citizenship) Codes

Number with “MV” (Motor Voter) Code who Voted                                      1

Number with “FO” (Federal Form) Code                                               0




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B.      Mr. Caskey’s TDL / Voter Registration List Match

     43. As noted above, I performed my own match of the TDL and the Kansas voter

        registration lists, and found 62 matches. Of the 62 matches that I found, 14 are listed

        as active voters, 4 as inactive, 20 as suspense voters, and 24 as cancelled voters.

     44. Of the 62 matches, 17 are listed with a code of “CITZ”, defined as “proof of

        citizenship not submitted.” The other 45 do not have this code.

     45. While 62 TDL records (0.29% of all TDL records) match to a voter file record, and

        while 14 TDL records (0.07% of all TDL records) match to an active registered voter,

        this does not inform me of whether the matched individuals were citizens at the time

        of registration, whether the listed individuals on the TDL file all match to the same

        individuals on the voter file or whether some are false positive matches, and whether

        some or all of the matched records are the result of clerical errors rather than

        purposeful registrations.

     46. Of the 62 matches, 59 are listed with no vote history at all. Three have vote records.

        Two of these are listed as having voted in the 2016 general election but no other

        election, and one is listed as having voted in the 2000 general election but no other

        election.

     47. Of the 62 matches, in terms of their method of registration, 25 are listed as having

        registered at the DMV, 24 are listed with no code, and the remaining 13 have codes of

        BM, FA, and IP.

     48. Among the 25 who are listed as registering at the DMV, 3 have a code of “CITZ”

        defined as “proof of citizenship not submitted.” The other 22 do not have this code.




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 49. Among the 14 active registered voters who matched to the TDL list, 8 are listed as

    registering at the DMV. Among the 4 inactive voters, one is listed as having

    registered at the DMV.

 50. Of the 25 who are listed as registering at the DMV, 5 are cancelled voters and 11 are

    suspense voters.

 51. Of the 25 individuals who are listed as registering at the DMV, one is listed as having

    voted in the 2000 general election but no other election. The remaining 24 individuals

    are not listed as having voted in an election.

 52. Of the 62 matches, none are listed with a code of “FO”, defined as representing a

    federal form applicant.




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       53. Below is a table summarizing my findings with respect to my own match of the TDL

          and Voter Registration Lists:


             My TDL / Voter Registration List Match: Summary of Findings

Number of Matches Found                                                         62

Number with “A” (Active) Code                                                   14

Number with “I” (Inactive) Code                                                  4

Number with “S” (Suspense) Code                                                 20

Number with “R” (Canceled) Code                                                 24

Number with “CITZ” (Proof of Citizenship) Code                                  17

Number who Voted                                                                 3

Number with “MV” (Motor Voter) Code                                             25

Number with “MV” (Motor Voter) “A” (Active) Codes                                8

Number with “MV” (Motor Voter) and “I” (Inactive) Codes                          1

Number with “MV” (Motor Voter) and “S” (Suspense) Codes                         11

Number with “MV” (Motor Voter) and “R” (Canceled) Codes                          5

Number with “MV” (Motor Voter) and                                               3
“CITZ” (Proof of Citizenship) Codes

Number with “MV” (Motor Voter) Code who Voted                                    1

Number with “FO” (Federal Form) Code                                             0




                                                                                         20
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C.       Sedgwick County Spreadsheet Referenced by Mr. Caskey

     54. Separately, I was provided with a spreadsheet of 31 non-citizens in Sedgwick County

         who, according to Mr. Caskey’s declaration, registered to vote or attempted to

         register to vote without documenting proof-of-citizenship. Each of the individuals

         was listed with a registration identification number.

     55. I was also provided with what appears to be an updated version of the spreadsheet

         from February 2017, with 32 individuals who, according to the spreadsheet,

         registered to vote or attempted to register to vote without documenting proof-of-

         citizenship. As with the earlier version of the spreadsheet, each of the individuals

         was listed with a registration identification number. I used this number to find these

         32 individuals in the voter registration database.

     56. Of these 32 records, 22 are listed as active registrants, 1 as an inactive registrant, 8 as

         cancelled voters and 1 as a suspense voter.

     57. In the field designating a voter registration reason, only one is listed as “CITZ,”

         indicating that the proof of citizenship was not submitted.

     58. Seventeen of the individuals have histories of voter turnout. Five of the seventeen

         individuals have histories of voter turnout prior to the date of the naturalization, as

         listed in the spreadsheet I reviewed.

     59. Seven of the 32 individuals are listed as having registered at the department of motor

         vehicles. Of these seven, three are active voters, three are cancelled voters, and one is

         a suspense voter. Of the seven, none is listed with CITZ as their registration reason.

         Of the seven, none voted prior to their date of naturalization. The other four have no

         history of voting.




                                                                                                   21
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       60. Of the thirty-two voters in this list, none are listed as having applied using the federal
           form.

       61. Below is a table summarizing my findings with respect to the 32 purported cases of

          non-citizen registration and attempted registration in Sedgwick County referenced in

          Mr. Caskey’s declaration:


     Sedgwick County Spreadsheet Referenced by Mr. Caskey: Summary of Findings

Number Reported By Mr. Caskey                                                            32

Number with “A” (Active) Code                                                            22

Number with “I” (Inactive) Code                                                          1

Number with “S” (Suspense) Code                                                          1

Number with “R” (Canceled) Code                                                          8

Number with “CITZ” (Proof of Citizenship) Code                                           1

Number who Voted                                                                         17

Number who Voted Prior to Date of Naturalization                                         5

Number with “MV” (Motor Voter) Code                                                      7

Number with “MV” (Motor Voter) “A” (Active) Codes                                        3

Number with “MV” (Motor Voter) and “I” (Inactive) Codes                                  0

Number with “MV” (Motor Voter) and “S” (Suspense) Codes                                  1

Number with “MV” (Motor Voter) and “R” (Canceled) Codes                                  4

Number with “MV” (Motor Voter) and                                                       0
“CITZ” (Proof of Citizenship) Codes

Number with “MV” (Motor Voter) Code who Voted                                            1

Number with “MV” (Motor Voter) Code who Voted Prior to                                   0
Naturalization

Number with “FO” (Federal Form) Code                                                     0



                                                                                                   22
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I declare under penalty of perjury under the laws of the United States that the forgoing is true and
correct to the best of my knowledge.



DATED this 15th Day of March, 2017




                                                     ________________________

                                                     Eitan Hersh




                                                                                                 23
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                           EXHIBIT A
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                                       Eitan D. Hersh

                                  Department of Political Science
                                         Yale University
                                  77 Prospect Street, Room C120
                                      New Haven, CT 06511
                                        Tel: 203-436-9061
                                   Email: eitan.hersh@yale.edu
                                    Web: www.eitanhersh.com



EMPLOYMENT Assistant Professor, Political Science
           Resident Fellow, Institution for Social and Policy Studies
           Yale University, 2011-Present


EDUCATION         Ph.D. in Political Science, Harvard University (2011)
                  M.A. in Political Science, Harvard University (2010)
                  B.A. in Philosophy, Tufts University, summa cum laude (2005)


BOOK              Eitan Hersh. 2015. Hacking the Electorate: How Campaigns Perceive Voters.
                  Cambridge: Cambridge University Press.
                  — Winner, Best Book in Information, Technology, and Politics, APSA 2016



ARTICLES          Eitan Hersh and Matthew Goldenberg. 2016. “Democratic and Republican Physi-
                  cians Provide Different Care on Politicized Health Issues,” Proceedings of the National
                  Academy of Sciences. 113 (42): 11811-11816.

                  Vivekinan Ashok, Daniel Feder, Mary McGrath, and Eitan Hersh. Forthcoming.
                  “Dynamic Voting in a Dynamic Campaign: Three Theories of Early Voting.” Election
                  Law Journal.

                  Ryan Enos and Eitan Hersh. Forthcoming. “Campaign Perceptions of Electoral
                  Closeness: Uncertainty, Fear, and Over-Confidence.” British Journal of Political
                  Science.

                  Eitan Hersh and Clayton Nall. 2016. “The Primacy of Race in the Geography
                  of Income-Based Voting: New Evidence from Public Voting Records.” American
                  Journal of Political Science. 60 (2): 289-303.
                  — Winner, Pi Sigma Alpha award for best paper presented at MPSA (2013)
                  — Winner, MPSA Emerging Scholar award (2013)

                  Ryan Enos and Eitan Hersh. 2015. “Party Activists as Campaign Advertisers: The
                  Ground Campaign as a Principal-Agent Problem.” American Political Science Re-
                  view. 109 (2): 252-278.

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                  Research Note.” Politics and Governance. 1 (2): 132-137.

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             havior of Victims’ Families and Neighbors.” Proceedings of the National Academy of
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             Value of Ambiguity.” Journal of Politics. 75 (2): 520-534.

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             About Survey Misreporting and the Real Electorate.” Political Analysis 20(4): 437-
             459.

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             and Registration: Why Age is Correlated with Registration in the U.S.” Quarterly
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             Eitan Hersh. 2012. “Primary Voters Versus Caucus Goers and the Peripheral Moti-
             vations of Political Participation. Political Behavior. 34(4): 689-718.

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             petitive Elections.” Quarterly Journal of Political Science 5(4): 339-356.



WORKS IN     Poli-Hobbyism: A Theory of Mass Politics
PROGRESS &
UNDER        “The Political Engagement, Representation, and Leadership of U.S. Clergy” (co-
REVIEW       authored with Gabrielle Malina)

             “Post-Materialist Particularism: What Petitions Can Tell Us about Biases in the
             American Policy Agenda” (co-authored with Brian Schaffner)

             “Why is There So Much Competition in U.S. Elections?” (co-authored with Bernard
             Fraga)

             “Mixed-Partisan Households and Electoral Participation in the United States” (co-
             authored with Yair Ghitza)



OTHER        Justin Grimmer, Brian Feinstein, Eitan Hersh, and Daniel Carpenter, “Are Close
WRITING      Elections Random?” Working Paper.

             Stephen Ansolabehere and Eitan Hersh. 2014. “Voter Registration: The Process and
             Quality of Lists.” In The Measure of American Elections, eds. Barry C. Burden and
             Charles Stewart III. Cambridge: Cambridge University Press.

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             Challenge of Democracy, eds. Paul M. Sniderman and Benjamin Highton. Princeton:
             Princeton University Press.

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             tration List Quality Pilot Studies,” Caltech/MIT Voting Technology Project Report,
             June 8, 2010.

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             Want to Persuade,” Monkey Cage, Washington Post, May 21, 2015.

             Eitan Hersh, “Data Availability Determines Whether Campaigns Focus on the Middle
             or the Base,” FiveThirtyEight, August 10, 2015.

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TEACHING     PLSC 232: “Information, Technology, and Politics” (Yale)
             PLSC 229: “Election Rules and Campaign Strategy” (Yale)
             PLSC 217/853: “U.S. National Elections” (Yale)


REFEREE      American Journal of Political Science American Political Science Review, Ameri-
SERVICE      can Politics Research, British Journal of Political Science, Economics and Politics
             Election Law Journal, Electoral Studies, International Journal of Public Opinion Re-
             search, Journal of Politics, Journal of Urban Affairs Legislative Studies Quarterly,
             Political Analysis, Political Behavior, Political Psychology, Political Research Quar-
             terly, Political Science Research and Methods, Politics and Governance, Public Opin-
             ion Quarterly, Research and Politics, Review of Economics and Statistics, State Pol-
             itics and Policy Quarterly.


INVITED      I have given presentations at annual meetings of the American Political Science Asso-
TALKS        ciation, Midwest Political Science Association, and Society for Political Methodology.

             I have given invited talks at Boston University, Columbia, Dartmouth, Harvard,
             Harvard Kennedy School, Harvard Medical School, MIT, NYU, UCLA, University
             of Massachusetts-Amherst, Michigan, UNC, UPenn Annenberg School, Princeton,
             Stanford, Stanford Law School, Washington University-St. Louis, and Yale Law
             School.


CONSULTING   Statistical Consultant, Texas v. Holder (Voter ID case)
             Statistical Consultant, Veasey v. Perry (Voter ID case)
             Expert, Judicial Watch, et al v. King, et al, (Indiana Voter Registration Case)
             Commissioner, Commission on Youth Voting and Civic Knowledge, CIRCLE, 2012-14
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                           EXHIBIT B
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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                       )
                                                 )
        Plaintiffs,                              )
                                                 )
v.                                               )    Case No. 16-2105-JAR-JPO
                                                 )
KRIS KOBACH, in his official capacity as         )
Secretary of State for the State of Kansas, et   )
al.,                                             )
                                                 )
      Defendants.                                )
___________________________________              )
                                                 )
CODY KEENER, et al.,                             )
                                                 )
        Plaintiffs,                              )
                                                 )
v.                                               )    Case No. 15-9300-JAR-JPO
                                                 )
KRIS KOBACH, in his official capacity as         )
Secretary of State for the State of Kansas, et   )    CASES CONSOLIDATED FOR
al.,                                             )         DISCOVERY
___________________________________              )

     DEFENDANT KOBACH’S SECOND SUPPLEMENTATION TO PLAINTIFFS’ FIRST
               REQUEST FOR THE PRODUCTION OF DOCUMENTS
                          CODES IN ADDENDUM

Defendant Kansas Secretary of State Kris W. Kobach hereby communicates codes used in the
documents previously tendered incident to plaintiffs’ expedite discovery. These codes
transmitted in response to the following request:
             From: Orion Danjuma [mailto:odanjuma@aclu.org]
             Sent: Monday, April 04, 2016 10:33 AM
             Subject: RE: Follow Up on Discovery Requests in Fish v. Kobach, No. 16 -2105

             Counsel,

             Thank you for sending us these materials.

             Please send us as soon as possible a key for the codes listed in the
             cde_source_of_info, cde_registrant_reason, cde_registrant_status fields on the
     Defendant Kobach      Page 1         SECOND supplement In Response to First Document Requests
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       spreadsheets you’ve provided. Obviously we can infer what some of the codes
       represent. Others we cannot infer and it would be preferable to have
       confirmation from you regardless. Apologies if you have already provided this
       information and I missed it.

       Sincerely,

       R. Orion Danjuma
       Staff Attorney, Equality Center




       DEFENDANT KOBACH’S RESPONSE TO ABOVE REQUEST IS AS
       FOLLOWS:


       SOURCE OF INFORMATION DESCRIPTION:

          AF – Armed Forces Recruitment Offices
          BM – By Mail
          CM – Confirmation Mailing
          DB – State funded Disability Offices
          DO – Deputized outposts
          EPOL – ES&S Electronic PollBook Interface
          FS – First and Second Class City Offices
          IP – In Person
          MV – Motor Vehicle Offices
          MVC – DMV On-line Address Change (Internet voter registration)
          MVO – Motor Vehicle On-line Registration (Internet voter registration)
          OM – All Other Means
          PA – Mandated Public Assistance Agencies
          VD – Voter Registration Drives


       REGISTRANT STATUS –

          A – Active
          R – Cancelled
          I – Inactive
          N – Not eligible
          NR – Not registered
          S – Suspense




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       VOTER REGISTRATION REASON –

          A – Active
          AGE – Under Age
          CITZ – Proof of citizenship not submitted
          CONF – Confirmation Mailing Process
          DEAD – Deceased
          DUPE – Duplicate
          FEL – Felony Conviction
          FO – Federal Form Applicant
          INC – Incomplete Application
          MENT – Mental Incompetence
          MOCK – Mock Election
          MOVE – Moved Out of County
          NE – Not Eligible
          NR – Not Registered
          OTHE – Other
          REQU- Vote Request
          SAFE – Safe At Home
          SPSD – Suspended
          UDM – UOCAVA – Domestic Military
          UOC – UOCAVA – Overseas Civilian
          UOM – UOCAVA – Overseas Military


                                Respectfully submitted this 4th day of April, 2016,

                                /s/ GARRETT ROE
                                Garrett Roe*
                                Kansas Secretary of State’s Office
                                Memorial Hall, 1st Floor
                                120 S.W. 10th Avenue
                                Topeka, KS 66612
                                (785) 296-4575 – Business
                                (785) 368-8032 – Facsimile
                                garrett.roe@sos.ks.gov
                                * Issued Temporary license by the Kansas Supreme Court;
                                Admitted to practice in the Kansas District Court




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                                     Kris W. Kobach
                                     Kansas Secretary of State’s Office
                                     Memorial Hall, 1st Floor
                                     120 S.W. 10th Avenue
                                     Topeka, KS 66612
                                     (785) 296-2034 – Business
                                      (785) 368-8032 – Facsimile
                                     kris.kobach@sos.ks.gov

                                     For Defendant Secretary of State Kris Kobach


                                  CERTIFICATE OF SERVICE

I, the undersigned, hereby certify that on April 4, 2016, I served Defendant Kobach’s Responses
to Plaintiffs’ Second Supplemental Document Requests, via electronic mail to the following:

Mark P. Johnson                             Stephen Douglas Bonney
Curtis E. Woods                             ACLU Foundation of Kansas
Samantha J. Wenger                          6701 W. 64th Street, Suite 210
Dentons US LLP                              Overland Park, KS 66202
4520 Main Street                            Phone: (913) 490-4102
Suite 1100                                  Fax: (913) 490-4119
Kansas City, MO 64111                       dbonney@aclukansas.org
Phone: (816) 460-2400
Fax: (816) 531-7545                         NEIL A. STEINER
Mark.johnson@dentons.com                    REBECCA KAHAN WALDMAN
Curtis.woods@dentons.com                    Dechert LLP
Samantha.wenger@dentons.com                 1095 Avenue of the Americas
                                            New York, NY 10036-6797
William R. Lawrence, IV                     Phone: (212) 698-3822
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730 New Hampshire Street, Suite 210         neil.steiner@dechert.com
Lawrence, KS 66044                          rebecca.waldman@dechert.com
Phone: (785) 331-0300
Fax: (785) 331-0303                         ANGELA M. LIU
wlawrence@fed-firm.com                      Dechert LLP
Counsel for the Keener Plaintiffs           35 W. Wacker Drive
                                            Suite 3400
                                            Chicago, Illinois 60601-1608
                                            Phone: (312) 646-5816
                                            Fax: (312) 646-5858
                                            Angela.liu@dechert.com




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                                           DALE E. HO
                                           ORION DANJUMA
                                           SOPHIA LIN LAKIN
                                           American Civil Liberties Union Foundation,
                                           125 Broad Street
                                           New York, NY 10004
                                           Phone: (212) 549-2693
                                           Dale.ho@aclu.org
                                           odanjuma@aclu.org
                                           slakin@aclu.org

                                           Counsel for Fish Plaintiffs



John T. Bullock                            M.J. Willoughby
STEVENS & BRAND, LLP                       Assistant Attorney General
900 Massachusetts, Suite 500               Office of Kansas Attorney General
P.O Box 189                                Derek Schmidt
Lawrence, Kansas 66044                     120 SW 10th Avenue, 2nd Floor
Phone: (785) 843-0811                      Topeka, KS 66612
Fax: (785) 843-0341                        Phone: (785) 296-4085
jbullock@stevensbrand.com
                                           J. Brian Cox
Counsel for Defendant Shew                 Deputy General Counsel
                                           Legal Services Bureau,
                                           Kansas Department of Revenue
                                           2nd Floor, Docking State Office Building
                                           915 SW Harrison Street
                                           Topeka, KS 66612
                                           Telephone (785) 296-2381
                                           Fax (785) 296-5213
                                           brian.cox@kdor.ks.gov

                                           Counsel for Defendant Jordan



       by:
       BJBROWN
       Staff Attorney
       Office of Secretary of State




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                                      (Addendum -- Codes)
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Dale Ho

From:                              Roe, Garrett [KSOS] <Garrett.Roe@ks.gov>
Sent:                              Wednesday, February 22, 2017 5:55 PM
To:                                Sophia Lakin; Lee, Bethany [KSOS]; Liu, Angela
Cc:                                Dale Ho
Subject:                           RE: Dropbox
Attachments:                       Temporary Drivers License List 20161214.xlsx


Sophia,

Regarding your first paragraph. I am not representing that Mr. Caskey was the one who performed the actual cross
referencing between the TDL and the ELVIS system. Someone in our IT department did that cross‐referencing of TDLs vs
Registration List. Our elections division then reviewed those results and reviewed ELVIS to verify. Our IT department
does the cross reference of those two data sets. I am not aware of any other TDL list than the one that I provided to
you. However, I have attached the TDL list that our IT department used, just to be safe. I believe it is the same
document that I sent you previously which was the list I was given by Revenue subsequent to the Court’s order. I am
also representing to you that the matches were done as stated. The IT department cross‐referenced the four criteria
(Last name, First name, DOB, Driver’s license number), then performed additional checks from there using some of the
data points. Regarding the next point, it is my understanding, that Jameson downloaded the entirety of the ELVIS
system, including registered, suspense, and cancelled records as of the date it was provided to you. It is my
understanding that is every record that exists in ELVIS as of that date. The IT department used the same data, albeit
from a slightly earlier date. They access the information in a slightly different way because they access the ELVIS system
itself, whereas we can’t really do anything other than provide you with the same data in the format we provided it. I
would also remind you, that those records fall under the Court’s original protective order and should not be shared
outside of those permitted in this litigation.

Regarding Tabitha Lehman, it is my understanding that you were given all of the underlying ELVIS documents already
(many, if not all of the documents, twice as per the original subpoena duces tecum). Who are the “several individuals”
that you do not yet have? If you would identify them, we will provide them.


2(b) It is my understanding that you were provided these as well. Please let me know who you do not yet have.

I would also again note the same thing I have repeatedly requested clarification on, whether it is your assertion
discovery requests you submit have no temporal scope in time and are unending.

6. I have provided you the information upon which Professor Richman relied in submitting his report. That is what is
required under Rule 26. I believe there is one e‐mail from this office to DHS with the list of individuals that were
checked. The e‐mail you received was the response. I will verify that tomorrow. I do not have that e‐mail. However, it
is not clear to me that this e‐mail is currently subject to any request. It is not responsive to the eleventh category. And,
regarding the thirteenth category, I am frankly not clear at this point now what you believe falls within that
request. You seem to cite to it every time you want any document from our office, without explanation. It is also in
reference to something stated on July 1, 2016.

7(a). I can provide that. However, it is not pursuant to any pending request.
7(b). I can provide that. However, it is not pursuant to any pending request.
7(c). I have not heard back from Professor Richman on this point.

I would point out here, again, this is not subject to a pending request as noted by Ms. Lee, but it can be provided.

                                                              1
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8(a). I have not received any further response from Division of Vehicles since last week. I have contacted them
again. However, now that I re‐read your e‐mail, can you please clarify, are you asking us to provide you with the actual
Kansas Driver’s License database? I’m fairly confident that this would take a court order before Revenue would provide
you with that. We do not have access to that. There are numerous federal and state privacy law issues involved there. I
am also not sure whether you are claiming that this falls under Rule 26 given that Professor Richman gave you what he
was provided by this office. Furthermore, from a proportionality stand point, are you really seeking the entire state
driver’s license database? I am a little confused by this request.
8(b). Again, I have not heard back from Department of Revenue, I have contacted them again.
8(c). Again, I have not received a response. I have contacted them again.
8(d). Again, I have not received a response. I have contacted them again.
8(e). I am looking to see what documents are responsive to this request currently. I do not believe it is subject to any
current discovery request, as again noted regarding reasonable temporal scopes of requests, but I am looking to see
what this office has.

I am not sure how any of these documents are “necessary to assess Professor Richman’s report” as you claim, but I am
trying to obtain them. Again, I strongly disagree that these are all subject to some existing request or are required under
Rule 26 expert disclosure requirements. However, we are providing them to you regardless.

Garrett Roe
Deputy Assistant Secretary of State, Legal Services
785‐296‐8473

From: Sophia Lakin [mailto:slakin@aclu.org]
Sent: Wednesday, February 22, 2017 9:48 AM
To: Roe, Garrett [KSOS] <Garrett.Roe@ks.gov>; Lee, Bethany [KSOS] <Bethany.Lee@ks.gov>; Liu, Angela
<Angela.Liu@dechert.com>
Cc: Dale Ho <dho@aclu.org>
Subject: RE: Dropbox

Garrett:

You've represented that the Mr. Caskey identified as a match individuals who had the same driver's license numbers,
dates of birth, first names, and last names‐‐or a subset of these matching criteria‐‐on each list. You have also
represented that the TDL list that you provided on the Box is the TDL list used by Mr. Caskey to perform this match, and
Bethany represented that the VRlist document uploaded to the Box on Friday was the full registration list, including
suspended and cancelled voters. If our understanding is correct about these three items, that is all the information that
we need with respect to request 1 at this time.

We are, however, still waiting for the following items, which we had asked to be produced by yesterday. Please produce
these items as soon as possible:

    2. Materials supporting the instances on noncitizen registration or attempted registration described by Bryan
       Caskey in paragraphs 4 and 5 of his January 30, 2017 Declaration, including:
    a. Underlying voter files reviewed by Tabitha Lehman for each of the 31 noncitizen registrants or attempted
       registrants identified by the Sedgwick County Election office described in paragraph 3 that were not produced at
       the time of her deposition on April 6, 2016. There are several individuals for whom no ELVIS record has been
       provided. Please confirm that these individuals do not have an ELVIS record or provide those ELVIS records.
    b. Underlying voter files for the 3 instances of alleged noncitizen registration described in paragraph 5 Please
       confirm that the individuals from Johnson County and Finney County do not have an ELVIS record or provide
       those ELVIS records.

                                                             2
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     All of this information is subject to outstanding discovery request. SeePlaintiffs’ First Request for Production,
     Request Number 7, dated March 9, 2016 ; Plaintiffs’ Request for Documents, attached as Exhibit A to the Notice
     of Deposition of Tabitha Lehman, Request Number 6, dated March 18, 2016.

6.   Communications with DHS regarding purported “self‐reported citizens on the suspense list.” (pg. 9 of Richman
     Report). Professor Richman states that, with respect to 32 individuals on the suspense list, “the Kansas
     Secretary of State office requested that the Department of Homeland Security … match these individuals against
     their files.” Footnote 10 in Professor Richman’s report asserts that this information is of “limited use to a state
     attempting to determine whether or not the person is a U.S. citizen.”

     Please produce any communications between the Kansas SOS and U.S. DHS regarding these individuals, or any
     other individuals referenced in Professor Richman’s report. These underlying materials are obviously necessary
     to assess Professor Richman’s report. Please confirm that the email forward by Secretary Kobach to Professor
     Richman is the only communication between DHS and the Secretary of State’s office concerting “self reported
     citizens on the suspense list” and any other individuals referenced in Professor’s Richman’s report. If it is
     not, please provide outstanding communications responsive to this request. Again, these communications are
     subject to several outstanding discovery requests. See Plaintiffs’ Fifth Request for Production, Request Number
     1, dated November 15, 2016; Request Number 11; and Request Number 13.

7. Any complete ELVIS files for the various individuals purportedly identified as non‐citizens who are registered
   or who have attempted to register to vote in Professor Richman’s report, including:
a. The 16 individuals Professor Richman indicates he is “confident” are on both the TDL and suspense lists (pg. 7 of
   report); While Professor Richman has provided the names of the 16 individuals (attached as “2‐4”), we have not
   received the ELVIS files for these individuals. Please provide the outstanding documents responsive to this
   request
b. The 7 individuals from the suspense list survey who purportedly self‐identified as non‐citizens (pgs. 8‐9 of
   report); While Professor Richman has provided the names of the 7 individuals (attached as “2‐5”), we have not
   received the ELVIS files for these individuals. Please provide the outstanding documents responsive to this
   request
c. The 6 individuals from the TDL survey who purportedly self‐identified as registered to vote (pg. 9 of report); Our
   understanding is that Professor Richman is unable to provide fully identifying information for the 6 individuals
   referenced. Please confirm that this is correct.

     These underlying materials are obviously necessary to assess Professor Richman’s report. They are also subject
     to an outstanding discovery request. See Plaintiffs’ First Request for Production, Request Number 7, dated
     March 9, 2016.

8.    Materials underlying the Match of Driver’s License Databases and Voter Registration Lists performed by
     DOV (pg. 6, Exhibit 1 in Richman report)
a.   The driver’s license list(s) used by DOV for this match You indicated in your last email that you may have
     requested this information from the DOV. Please confirm and provide an estimated ETA for this information.
b.   The voter registration list(s) used by DOV for this match, with all voter information fields, including method of
     registration You indicated in your last email that you may have requested this information from the DOV. Please
     confirm and provide an estimated ETA for this information.
c.   Documentation of criteria used by DOV for matching names on the driver’s license and the voter registration
     lists You indicated in your last email that you may have requested this information from the DOV. Please confirm
     and provide an estimated ETA for this information.
d.   Any software code used by DOV for the matching process You indicated in your last email that you may have
     requested this information from the DOV. Please confirm and provide an estimated ETA for this information.
e.   Any and all communications between the Secretary of State’s office and KDOR/KDOV regarding the information
     in Exhibit 1. Please provide documents responsive to this request. This information is necessary to assess
     Professor Richman’s report and is subject to a number of continuing discovery requests, and in

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          particular: Plaintiffs’ Second Request for Production, Request Number 1, dated March 9, 2016; Plaintiffs’ Fifth
          Request for Production, Request Number 10, dated November 15, 2016.

          Again, these underlying materials are obviously necessary to assess Professor Richman’s report. They are also
          subject to several outstanding discovery requests. See Plaintiffs’ First Request for Production, Request Number
          7, dated March 9, 2016; Plaintiffs’ Fifth Request for Production, Request Number 10, dated November 15, 2016.

As noted, all of these materials are properly a part of required expert disclosures in this case and are subject to at least
one outstanding discovery request. Delay in production will compromise our ability to prepare and serve expert rebuttal
reports in accordance with the scheduling order in this case. Please let me know if you have any questions or concerns,
and we can set up a time to discuss.

Regards,
Sophia


From: Roe, Garrett [KSOS] [mailto:Garrett.Roe@ks.gov]
Sent: Tuesday, February 21, 2017 6:49 PM
To: Sophia Lakin; Lee, Bethany [KSOS]; Liu, Angela
Cc: Dale Ho
Subject: RE: Dropbox

Sophia,

I am still slightly confused. Obviously, we run a computer match of the TDL list against the registration data. We have
provided you with the TDL list and the registration list (which includes registered, canceled and suspense). The matches
included checking driver’s license numbers, dates of birth, first names, and last names. Combinations of those numbers
were also used to identify individuals where, for instance, the ELVIS file or the TDL file was missing one of the numbers
(like missing driver’s license for some reason).

Thus, you have the capability to do that check yourself and verify the information with the spreadsheets that you
have. You can obviously see what fields are in the voter registration list and what fields are in the TDL list As a result, I
am not sure what you are now asking for. What don’t you have that you are claiming to be entitled to?

I would also point out, that if I understand correctly what you are seeking, it is information regarding Bryan Caskey’s
affidavit, not information related to Professor Richman’s report, is that correct?

Garrett Roe
Deputy Assistant Secretary of State, Legal Services
785‐296‐8473

From: Sophia Lakin [mailto:slakin@aclu.org]
Sent: Tuesday, February 21, 2017 10:33 AM
To: Lee, Bethany [KSOS] <Bethany.Lee@ks.gov>; Liu, Angela <Angela.Liu@dechert.com>
Cc: Roe, Garrett [KSOS] <Garrett.Roe@ks.gov>; Dale Ho <dho@aclu.org>
Subject: Re: Dropbox

Thanks, Bethany.

With respect to your question concerning software code under 1d, this request is related to request 1(c) in
that we are requesting documentation of the criteria and methodology used by Mr. Caskey to perform his

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TDL‐ELVIS match. If there is some kind of formula or function that was run through the TDL list and ELVIS
records to match entries, that information is within the scope of 1(d).

We look forward to receiving the outstanding materials that we requested on February 10th sometime today.

Regards,
Sophia

From: Lee, Bethany [KSOS] <Bethany.Lee@ks.gov>
Sent: Friday, February 17, 2017 6:41:32 PM
To: Sophia Lakin; Liu, Angela
Cc: Roe, Garrett [KSOS]
Subject: Dropbox

Angela and Sophia,

I’ve uploaded the registration list, suspense list, and cancelled list as one file. I think this is what you were requesting in
your e‐mail, but I’m not entirely sure. Bryan Caskey is at NASS in DC this week, but will be back on Monday.

Can you describe what you mean by software code under 1d? We have been talking to our IT people and they didn’t
seem to know what you mean by that.

Moreover, as we have stated before, our office still believes that you put a reasonable temporal scope on your requests,
which we previously complied with. For instance, in your first RDP, request 2 – it states “as of September 30,
2015.” We’ve complied with that request. We gave you the information we had at that time. In your second RFP –
request 9 asks for all voters currently registered in the State of Kansas. Again, we complied with that. In your first RFP,
request 7 – you asked for documents “identified in the Caskey letter.” Again, we complied with the documents identified
in that letter. Those are just 3 of the many examples that show we’ve complied.

Have a good weekend.

Thanks,
Bethany Lee | Staff Attorney
Kansas Secretary of State | (785) 296‐4559 P | (785) 291‐3051 F | www.sos.ks.gov
Memorial Hall, 1st Floor | 120 S.W. 10th Avenue | Topeka, KS 66612‐1594




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